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                                 UNITED STATES DISTRICT COURT

6                              CENTRAL DISTRICT OF CALIFORNIA


7
      LILIA R.,                                       Case No. 8:20-CV-01764 (VEB)
8
                            Plaintiff,                JUDGMENT

9     vs.

10    KILOLO KIJAKAZI, Acting Commissioner of
      Social Security,
11
                           Defendant.

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            For the reasons set forth in the accompanying Decision and Order, it is hereby ADJUDGED
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     AND DECREED THAT (1) Plaintiff’s request for an order remanding the case for further
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     proceedings is DENIED; (2) the Commissioner’s request for an order affirming the Commissioner’s
15   final decision and dismissing the action is GRANTED; (3) judgment is entered in the

16   Commissioner’s favor; and (4) the Clerk of the Court shall CLOSE this case.

17          DATED this 26th day of October, 2021,

                                                             /s/Victor E. Bianchini
18                                                           VICTOR E. BIANCHINI
                                                        UNITED STATES MAGISTRATE JUDGE
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                       JUDGMENT – LILIA R. v KIJAKAZI 2:20-CV-01764-VEB
